                      Case 1:19-mj-06087-MPK Document 50 Filed 03/18/19 Page 1 of 1                     SEALED
/
AO 442 (Rev. 11/11) Arrest Warrant
                                                                                                            :o~ 3~39C
                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of Massachusetts

                  United States of America
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                                 V.                                )                                                                         (/)
                     GREGORY ABBOTT                                )        Case No.    19-MJ-6087-MPK                      !::?
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                            Defendant                                                                                         1)        :t{/) fT1

                                                     ARREST WARRANT
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To:      Any authorized law enforcement officer
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         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)        GREGORY ABBOTT
                                 -----------------------------------
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment             0 Superseding Indictment         0 Information        0 Superseding Information             ~ Complaint
0 Probation Violation Petition             0 Supervised Release Violation Petition       0 Violation Notice          O Order of the Court

This offense is briefly described as follows:
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  Conspiracy to Commit Mail Fraud and Honest Services Mail Fraud (18 U.S.C. § 1349)
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Date:         03/11/2019                                                                                                                               m


City and state:       Boston, MA



                                                                Return

          This warrant was received on (date)    -------               , and the person was arrested on (date)
at (city and state)


Date:



                                                                                            Printed name and title
